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                           EXHIBIT C
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  October 26, 2021

  VIA ELECTRONIC MAIL

  Michael S. Levine, Esq.                           Cary D. Steklof, Esq.
  Hunton Andrews Kurth LLP                          Hunton Andrews Kurth LLP
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  Re:     Continental Casualty Co. v. AWP USA Inc. a/k/a Aga Inc., No. 3:19-cv-00661 (E. D. Va.)

  Dear Counsel:

  On behalf of Continental Casualty Company ("Continental"), we write to address the status of
  Defendants' production of documents responsive to Continental's First Set of Requests for
  Production of Documents to Defendants (the "Requests"). The Requests were served on
  August 13, 2021. Defendants responded to the Requests on September 13, 2021, agreeing to
  produce certain responsive documents. Defendants also advised that they intended to produce
  documents on arolling basis. However now, over two months after Continental served the
  Requests and over amonth after Defendants' served their responses, Defendants have yet to
  produce asingle document.

  Continental has identified numerous deficiencies in Defendants' objections and responses to the
  Requests, including in my September 2, 2021 and September 27, 2021 letters and on our meet
  and confer call on September 29, 2021. Based on our September 29 call, Continental
  understands that it will be necessary to seek judicial intervention with respect to certain
  disagreements that the parties are unable to resolve. However, Continental cannot fully
  evaluate the scope of issues with respect to which it must seek judicial intervention until it
  reviews Defendants' production and privilege log.

  Discovery is set to close on February 25, 2022, with dispositive motions due shortly after that
  date on March 9, 2022. Before that time, the parties will need to seek, obtain, and implement a
  judicial resolution of the discovery disputes. In addition, all depositions and any expert
  discovery must occur during this time.

  Even more imminently, the parties have scheduled a mandatory settlement conference on
  December 6, 2021. When we discussed the timing for scheduling the conference, we made
  clear that it would be futile to continue settlement discussions without discovery.

  Please advise no later than close of busines Thursday, October 28 when Continental can
  expect to receive Defendants' initial production and confirm that Defendants will produce all
  responsive documents no later than November 15, 2021.
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  Michael S. Levine, Esq.
  Cary D. Steklof, Esq.
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  Very truly yours,

  WILEY REIN LLP




  Richard A. Simpson
  Mary E. Borja
